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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  MCALLEN DIVISION

ROBERT H. CRANE,                             §
    Plaintiff,                               §
                                             §
v.                                           §
                                             §
MARGO AND JONES, INC.,                       §
AUTOWASH CORP.,                              §         CIVIL ACTION NO.: 7:21-CV-490
RNS-CRANE, L.L.P.,                           §
CCN SERVICES CORPORATION, and                §
SCC SERVICES CORPORATION                     §
     Defendants,                             §
                                             §
SASHA S. CRANE,                              §
     Intervenor.                             §

                         NOTICE OF APPEARANCE OF COUNSEL

To:    The Clerk of court and all parties of record:

       NOW COMES, JAIME PEÑA, and hereby files this Notice of Appearance as Counsel for

Defendants Margo and Jones, Inc., Autowash Corp., RNS-Crane, L.L.P., CCN Services

Corporation, and SCC Services Corporation (hereinafter collectively “Defendants”).

       I am admitted or otherwise authorized to practice in this court, and I appear in this case as

Counsel in the above numbered and entitled cause for Defendants.

Dated: April 28, 2022.




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                                                            Respectfully submitted,

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                                                            McAllen, TX 78501
                                                            Tel.: (956) 948-2221
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                                                    By: /s/ Jaime Peña
                                                          Jaime Peña
                                                          State Bar No.: 90001988
                                                          SD TX: 289815
                                                          jpena@penaaleczander.com

                                CERTIFICATE OF SERVICE

        I, the undersigned, hereby certify that a true and correct copy of the foregoing Plaintiff
Notice of Appearance of Additional Counsel has been filed ECF and sent to the Assistant United
States Attorney’s Office, on the 28th day of April, 2022 and forwarded to all counsel of record.




                                                                /s/ Jaime Peña
                                                                    Jaime Peña




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